         Case 1-19-40822-cec           Doc 3      Filed 02/11/19     Entered 02/11/19 14:14:06




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                             Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                    Case No. 19-40822

               Debtor.

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               CORPORATE OWNERSHIP AND DISCLOSURE STATEMENT

        Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure and Rule 1073-
3 of the Local Rules for the United States Bankruptcy Court for the Eastern District of New York,
the Debtor certifies that there is no corporation that, directly or indirectly, owns 10% or more of
any class of the equity interest in the Debtor.

Dated: New York, New York
       February 11, 2019

                                                     Jeffrey E. Dunston
                                                     President and Chief Executive Officer of
                                                     Northeast Brooklyn Partnership



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